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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                       Case No.      11-20129
v.

VINCENT JOHN WITORT (D-8),

       Defendant.
                                           /

                       ORDER REQUIRING ADDITIONAL BRIEF

       Before the court is a request from Defendant Vincent John Witort to substitute his

current, court-appointed attorney with two privately retained attorneys. The request

comes within weeks of the trial of an extremely complex RICO case with which his

court-appointed attorney has been spending two years familiarizing herself. There are

no conflicts, or communication break-downs, between Defendant and his current

attorney. She has, from the court’s perspective, represented him zealously and

effectively thus far, and she has made it abundantly clear that she is ready for trial.

       Nonetheless, Defendant has obtained funds from an unspecified source to hire

two new attorneys who, because of the protective order, have not seen one page of the

voluminous electronic discovery. These two attorneys assert that they believe they can

be ready for trial by September 29. The court is, to say the least, skeptical. The court

doubts that even the combined efforts of the two attorneys could replicate the two years

of work that Defendant’s current attorney has performed but, more concerning, the court

wonders whether these attorneys could adequately prepare for trial in the next few
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weeks such that their representation could provide constitutionally effective

representation. For these reasons, and others, the court held a hearing on the matter

on July 9, 2014. As expressed at the hearing, the court found the oral presentation to

be lacking in sufficient detail to allay the court’s concerns. Accordingly, the court

ordered additional briefing from proposed counsel, and ordered that the briefing be

expedited due to the fast-approaching trial date. This order memorializes the court’s

on-the-record order to that effect. Thus,

       IT IS ORDERED that by Friday, July 11, 2014 at 12:00 noon, proposed

substitute counsel shall submit, under seal, a supplemental brief in further support of

their request to substitute as counsel for Defendant John Vincent Witort. The brief shall

address, with appropriate support, the issues as outlined at the July 9, 2014 hearing, as

well as any other bases counsel has to seek this extraordinary relief. The brief should,

at a minimum, specifically address the court’s concerns regarding (1) proposed

counsels’ ability to be prepared for trial; (2) the possibility that the funds will run out prior

to the end of trial, thus creating a situation where another counsel would need to be

appointed; and (3) whether the request contemplates any reimbursement of public

funds pursuant to 18 U.S.C. § 3006A(f). Additionally, because counsel voluntarily

offered to provide such information, the court would welcome any assurances that the

funds do not come from a source which, in this RICO case, could give rise to the

appearance or possibility of conflict of interest between this Defendant and another co-

defendant.

                                             s/Robert H. Cleland
                                            ROBERT H. CLELAND
                                            UNITED STATES DISTRICT JUDGE
Dated: July 10, 2014
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 10, 2014, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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